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      UNITED STATES OF AMERICA and
12    TRACY L. WILKISON AND KRISTI KOONS JOHNSON
      IN THEIR OFFICIAL CAPACITY ONLY
13
                               UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                     WESTERN DIVISION
16
      DOE 1, AN INDIVIDUAL AND DOE 2,           Case No. 2:22-cv-01722-RGK-MAR
17    AN INDIVIDUAL,
                                                STATUS REPORT
18               Plaintiffs,

19                     v.

20    UNITED STATES OF AMERICA, TRACY
      WILKISON (OFFICIAL CAPACITY),
21    KRISTI KOONS JOHNSON (OFFICIAL
      CAPACITY) AND ROES 1-20,
22
                 Defendants.
23

24          Defendants United States of America, Tracy L. Wilkison (official
25    capacity) and Kristi Koons Johnson (official capacity)
26    (collectively, “Defendants”) hereby submit this Status Report
27    regarding this case.      On July 12, 2022, plaintiffs filed a notice of
28    dismissal of this case, using a pre-printed Central District of
     Case 2:22-cv-01722-RGK-MAR Document 21 Filed 07/27/22 Page 2 of 2 Page ID #:57



1     California court form.      Docket No. 19.    On July 19, 2022, the Court

2     struck the notice of dismissal because plaintiffs failed to fill out

3     the form completely (i.e., by indicating the case is dismissed by

4     plaintiffs in its entirety) and selected an improper PACER filing

5     event.   Docket No. 20.     The Court’s July 19, 2022 notice striking the

6     notice of dismissal also provided that the document was stricken

7     without prejudice to plaintiffs refiling a properly completed

8     document.    Id.   On July 22 and 26, 2022, undersigned counsel emailed

9     plaintiffs’ counsel and requested that a new form be filed, and also
10    left a voice mail on July 26, 2022 on plaintiffs counsel’s telephone
11    number requesting the same.      However, undersigned counsel has not
12    heard from plaintiffs’ counsel.       Accordingly, and in order to move
13    this case along, defendants respectfully request that an OSC re
14    dismissal be issued advising plaintiffs that this action shall be
15    dismissed if the notice of dismissal is not filed by whatever
16    deadline the Court selects.
17                                       Respectfully submitted,
18    Dated: July 27, 2022               STEPHANIE S. CHRISTENSEN
                                         Acting United States Attorney
19                                       SCOTT M. GARRINGER
                                         Assistant United States Attorney
20                                       Chief, Criminal Division
                                         JONATHAN GALATZAN
21                                       Assistant United States Attorney
                                         Chief, Asset Forfeiture Section
22

23                                                /s/             ________
                                         VICTOR A. RODGERS
24                                       MAXWELL COLL
                                         Assistant United States Attorneys
25                                       Asset Forfeiture Section
26                                       Attorneys for Defendants
                                         UNITED STATES OF AMERICA and
27                                       TRACY L. WILKISON (OFFICIAL CAPACITY)
                                         and KRISTI KOONS JOHNSON (OFFICIAL
28                                       CAPACITY)
                                              2
